8:09-cr-00272-JFB-FG3         Doc # 129    Filed: 04/05/10   Page 1 of 6 - Page ID # 511




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )                    8:09CR272
                     Plaintiff,            )
                                           )
              v.                           )
                                           )         MEMORANDUM AND ORDER
SHANNON B. JACKSON AND                     )
MICHAEL D. MCCROY,                         )
                                           )
                     Defendants.           )




       This matter is before the court on defendant Shannon B. Jackson’s motions to

suppress statements and witness identification, Filing No. 65 and Filing No. 67, and

defendant Michael D. McCroy’s motion to suppress statements made by Jackson, Filing

No. 57. The government charged Jackson in a five-count indictment with conspiracy to

commit bank robbery in Count I; bank robbery in Count II; brandishing a firearm during a

bank robbery in Count III; bank robbery in Count IV; and brandishing a firearm during a

bank robbery in Count V. McCroy is charged in the same indictment but only as to Counts

I, II, and III. Filing No. 11. The magistrate judge reviewed the motions and determined they

should be denied. Filing No. 116. Jackson objects to these findings of the magistrate

judge. Filing No. 126. McCroy also objects to these findings. Filing No. 127. The

magistrate judge’s finding may be reversed if clearly erroneous or contrary to law. See 28

U.S.C. § 636. The court has reviewed the record and relevant law. The court concludes

that the findings and recommendations of the magistrate judge should be adopted.
8:09-cr-00272-JFB-FG3         Doc # 129     Filed: 04/05/10     Page 2 of 6 - Page ID # 512




       Introduction

       Following a bank robbery at First National Bank of Bellevue, the police captured

both Jackson and McCroy. Jackson has three arguments in support of his motion to

suppress and his motion to suppress witness identification. First, Jackson contends that

police interrogated him after his arrest, in violation of the Fifth Amendment. Second, after

Jackson’s arrest, the arresting officer was instructed to return Jackson to the bank. He did

so and two employees attempted to identify Jackson. Neither could do so. Jackson

alleges this identification procedure violates his constitutional rights. Third, thereafter, the

police transported Jackson to the Sarpy County Jail. Jackson contends that jail personnel

wrongfully and unlawfully intercepted his phone calls from the jail to third parties and this

court should suppress those conversations.           McCroy also moves to suppress the

statements that Jackson made while talking on the phone at the Sarpy County Jail.

       Discussion

       A. Motion to Suppress Arrest Statements

       The Bellevue Police Department apprehended Jackson near a creek, soaking wet.

Officer David Brewer took custody of Jackson. Officer Brewer introduced himself and

asked for permission to complete a field interview card which contained basic personal

information. Jackson agreed. Jackson stated, without prompting from Officer Brewer, “I

should have known better than to let that fool talk me into coming down here.” Officer

Brewer reminded Jackson he was under arrest and then read him his Miranda rights, using

the rights advisory card. See Miranda v. Arizona, 384 U.S. 436 (1966). Officer Brewer then

asked Jackson about the vehicle used to get to Bellevue. Jackson stated he slept most


                                               2
8:09-cr-00272-JFB-FG3              Doc # 129        Filed: 04/05/10        Page 3 of 6 - Page ID # 513




of the way but thought it might have been a pickup truck. Jackson then asked for a lawyer

and Officer Brewer stopped asking questions.

        The magistrate judge first determined that Officer Brewer did not act unlawfully

when he asked Jackson the biographical information. The court agrees and also agrees

with the magistrate judge’s finding that Officer Brewer gave Jackson his Miranda rights.

However, the magistrate judge found that Jackson’s responses to questions, in particular

the questions about the mode of transportation, constituted a custodial interrogation and

such responses should be suppressed, as there is no evidence in the record that Jackson

ever waived his Miranda rights.1 This court has read the record and is in agreement with

the magistrate judge’s conclusions in this regard. There is no evidence in the record of

waiver of Jackson’s Miranda rights, so the post-Miranda statements are suppressed.

However, the magistrate judge did not exclude the one comment that Jackson initially

volunteered regarding “let[ting] that fool talk me into coming down here.” The court agrees

with the magistrate judge that Officer Brewer did not elicit such statement from Jackson

and that Jackson voluntarily made that statement. Accordingly, the Court finds the

magistrate judge is correct in all respects with regard to the custodial interrogation. All

answers to biographical information requests are not suppressed; the volunteered

statement is not suppressed; but the answers given to questions of a substantive nature

regarding the mode of transportation are suppressed for failure to show that Jackson

actually waived his Miranda rights.


        1
           The m agistrate judge m ade this determ ination in the text of his findings and recom m endations but
failed to note such suppression in his conclusion. The Court agrees with the finding to suppress and notes
this for clarification of the record.

                                                       3
8:09-cr-00272-JFB-FG3       Doc # 129     Filed: 04/05/10    Page 4 of 6 - Page ID # 514




      B. Identification Attempt

      Officer Brewer received a call from Lieutenant Stuckenholz to transport Jackson

back to First National Bank. Officer Brewer then asked Jackson, who was still handcuffed,

to step out of the car. Both a bank teller and a security guard tried to identify Jackson.

Neither could do so as both bank robbers wore masks. The magistrate judge determined,

and this court agrees, that while such identification could have been problematic, in this

case it is not. No one could, or did, identify Jackson. Consequently, there is nothing to

suppress.

      C. Telephone Monitoring

      Officer Brewer then drove Jackson to the Sarpy County Jail.        Jackson made a

number of calls which jail personnel recorded. See Filing No. 58. Officer Matt Chandler

of the Omaha Police Department and Johathan Robitaille of the Federal Bureau of

Investigations requested a copy of these telephone calls. Jackson argues all of these

recordings should be suppressed because law enforcement did not obtain a warrant.

      There are signs posted at most of the phones at the Sarpy County Jail, as well as

in the inmate handbook, that tells all prisoners that the calls might be monitored or

recorded when it is determined that an inmate’s actions or conversations pose a threat to

the safety and security of the Sarpy County Law Enforcement Center. Jackson argues that

does not give him sufficient notice that he, someone not causing trouble, would be

monitored. However, the court notes, as did the magistrate judge, that there is a pre-

recorded message at the beginning of each call that tells the inmate that the calls are

subject to monitoring and recording. The court agrees with the factual and legal analysis


                                            4
8:09-cr-00272-JFB-FG3        Doc # 129      Filed: 04/05/10    Page 5 of 6 - Page ID # 515




of the magistrate judge that Jackson gave implied consent to the taping of his phone

conversations.

       D. McCroy’s Motion to Suppress

       McCroy argues that Jackson’s telephone conversations should be suppressed,

because any alleged conspiracy between the two of them ceased upon Jackson’s arrest,

and therefore, his phone statements would not be statements of a co-conspirator during

the course of the conspiracy pursuant to Fed. R. Evid. 801(d)(2)(E). McCroy also argues

that use of these statements violates his rights under the Sixth Amendment to confront his

accusers, if McCroy does not testify at trial. The magistrate judge did not address these

issues, because McCroy did not file a brief. The magistrate judge found McCroy waived

his right to assert these issues pursuant to NECrimR 12.3(b)(1). McCroy argues that he

submitted a 16 page motion and a 46 page Index of Evidence and the magistrate judge

should not have dismissed his motion, simply because he technically failed to file a brief.

       The court agrees that McCroy failed to file a brief, and in the future, should comply

with the Nebraska Local Rules. However, in view of the fact that McCroy did file a lengthy

motion and index of evidence, and in view of the fact that this issue would arise during trial

in any event, the court will consider his argument. The magistrate judge, as previously

affirmed by this court, reviewed the jailhouse statements made by Jackson and determined

that McCroy is not mentioned by name in any of the statements. Filing No. 79, at 5 and

Filing No. 99, at 3. Accordingly, the magistrate judge determined there is no prejudice or

issue under Bruton v. United States, 391 U.S. 123 (1968). This court has again reviewed

the jailhouse statements and once again agrees that the statements do not incriminate


                                              5
8:09-cr-00272-JFB-FG3              Doc # 129        Filed: 04/05/10         Page 6 of 6 - Page ID # 516




McCroy. See United States v. Avila Vargas, 570 F.3d 1004, 1008-09 (8th Cir. 2009).

Accordingly, the court will deny McCroy’s motion to suppress.                           If, however, these

statements are somehow linked to evidence at trial that would incriminate McCroy, he is

free to raise the issue at trial. Further, if McCroy has particular hearsay or other objections,

counsel can make those at trial.

        THEREFORE, IT IS ORDERED that:

        1. Jackson’s motion to suppress statements, Filing No. 65, is granted in part and

denied in part as set forth herein;

        2. Jackson’s motion to suppress witness identification, Filing No. 67, is denied;

        3. Jackson’s objections, Filing No. 125, are overruled;

        4. McCroy’s motion to suppress statements, Filing No. 57, is denied;

        5. McCroy’s objections, Filing No. 127, are overruled; and

        6. The findings and recommendation of the magistrate judge, Filing No. 116, is

adopted in its entirety.

        DATED this 5th day of April, 2010.


                                                    BY THE COURT:



                                                    s/ Joseph F. Bataillon
                                                    Chief United States District Judge




         *This opinion m ay contain hyperlinks to other docum ents or W eb sites. The U.S. District Court for
the District of Nebraska does not endorse, recom m end, approve, or guarantee any third parties or the services
or products they provide on their W eb sites. Likewise, the court has no agreem ents with any of these third
parties or their W eb sites. The court accepts no responsibility for the availability or functionality of any
hyperlink. Thus, the fact that a hyperlink ceases to work or directs the user to som e other site does not affect
the opinion of the court.                              6
